UNITED STATES OF AMERICA v. PAULA KAY BULLOCK
CASE NO.: 1:17CR460-1

\ (\ Thonn OF THE GARNISHEE
é h. WI nk KO IO) AY 2OK (V\\ DECLARING UNDER PENALTY OF
(Declarant)

PERJURY THAT THE INFORMATION GIVEN BELOW IS TRUE AND CORRECT,

 

SAYS:

IF GARNISHEE IS AN INDIVIDUAL:

——

That he/she is Gamishee herein doing business in the name of:

 

 

’ (State full name and address of business)

IF GARNISHEE IS A PARTNERSHIP:

That he/she is a partner of | organized

under the laws of the State of

 

IF GARNISHEE IS A CORPORATION:
That he/she is the“ ota wor -\e ao (Official Title) of
Gamishee, OV Lass ‘ JON NO . CO Mac a corporation, organized under the
laws of the State of Cov vol MOA

On__| Q 2? , 2019, Garnishee was served with the Writ of

Continuing Garnishment in the above-named action.

Case 1:17-cr-00460-LCB Document 77 Filed 01/06/20 Page 1 of 4
YOU ARE REQUIRED BY THE WRIT TO WITHHOLD AND RETAIN THAT
PROPERTY DESCRIBED IN THE WRIT OF CONTINUING GARNISHMENT.

lL Does we custody, control or possession of property of the debtor?

Yes No

If you answer “Yes” describe below:

Property Value Estimate Date or Period Due

 

 

 

= r \ ; f \ \ ~
ae Nxc KNOCK Wee
Is the property owned jointly with another individual and/or entity?

Yes No ~

Name of Joint Owner:

 

2. Does the Garnishee anticipate custody, control or possession of other property of

the debtor in the future?

Yes No rN

If you answer “Yes” describe below:

Case 1:17-cr-00460-LCB Document 77 Filed 01/06/20 Page 2 of 4
Property Value Estimate Date or Period Due

 

 

 

 

 

 

3. Have there been previous garnishments in effect?

Yes No

If the answer is yes, describe below:

he

 

 

—

4. Does the Gamishee have custody, control or possession of any property in which the

~~

Debtor maintains an interest? OE

Yes No

OO Aerocd iy2co
If you answer “Yes,” describe below:

Property Value Estimate Date or Period Due

 

 

Case 1:17-cr-00460-LCB Document 77 Filed 01/06/20 Page 3 of 4
am

 

 

If you have property in which the Defendant Debtor has an interest, but deny that the
property is subject to the Writ of Continuing Garnishment, state the basis for the

exemption or reason for the denial or any other objection to the writ:

Ka @Oc as QLOS od

 

 

The Garnishee must mail a copy of this answer by first-class mail to (1) the Debtor, at the
Debtor’s address set forth hereinabove and (2) the Attorney for the United States, Financial

Litigation Unit, 101 S. Edgeworth Street, Greensboro, North Carolina 27401.

Executed on ~ Dowumnloac OK) DEN“.

 

 

 

 

Date | "
data t Kee CANCE) \.00¢ Ma

Declarant

BFL - OND-ADGS

Telephone Number :
QQNOSqq nd Any Load KEO GO GorZ’
Address

THE ORIGINAL OF THIS ANSWER MUST BE MAILED TO THE CLERK OF THE
UNITED STATES DISTRICT COURT, 324 West Market Street, 4th Floor, Greensboro,
NC 27401, and a copy to the UNITED STATES ATTORNEY’S OFFICE, Attn: Financial
Litigation Unit, 101 S. Edgeworth Street, 4th Floor, Greensboro, NC 27401.

Case 1:17-cr-00460-LCB Document 77 Filed 01/06/20 Page 4 of 4
